                       Case 2:18-cr-00118-MLCF-JVM Document 228 Filed 07/14/21 Page 1 of 6
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                     EASTERN District of LOUISIANA
                                                    )
              UNITED STATES OF AMERICA                    JUDGMENT IN A CRIMINAL CASE
                                                    )
                         v.                         )
                                                    )
                                                          Case Number:         053L 2:18CR00118-001 “F”
                                                    )
                   WILLIAM MCGINNESS
                                                    )     USM Number:          35767-034
                                                    )
                                                    )     Robert Stephen Toale
                                                    )     Defendant’s Attorney
THE DEFENDANT:
    pleaded guilty to count(s)      1 and 4 of the Indictment on December 11, 2019.

    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                                                Count
18 USC § 371                      CONSPIRACY TO SMUGGLE WILDLIFE AND VIOLATE                                                         1
                                  THE LACEY ACT
16 USC § 3372(d)(2) and           VIOLATION OF THE LACEY ACT; AIDING & ABETTING                                                      4
3373(d)(3)(A); 18:2



       The defendant is sentenced as provided in pages 2 through             6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

    The defendant has been found not guilty on count(s)

    Count(s) 2, 3 and 5 of the Indictment                 is        are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

Court Reporter: Toni Tusa                                             JULY 14, 2021
                                                                      Date of Imposition of Judgment
Asst. U. S. Attorney: Mary Dee Carraway/Melissa Bucher
and Gregory M. Kennedy

U. S. Probation Officer: Tamika Jackson
                                                                      Signature of Judge




                                                                      MARTIN L.C. FELDMAN, UNITED STATES DISTRICT JUDGE
                                                                      Name and Title of Judge


                                                                      JULY 15, 2021
                                                                      Date
                       Case 2:18-cr-00118-MLCF-JVM Document 228 Filed 07/14/21 Page 2 of 6
AO 245B (Rev. 02/18)    Judgment in a Criminal Case
                        Sheet 4—Probation
                                                                                                      Judgment—Page     2     of        6
 DEFENDANT:                WILLIAM MCGINNESS
 CASE NUMBER:              053L 2:18CR00118-001 “F”
                                                              PROBATION
 You are hereby sentenced to probation for a term of :


 TWO (2) YEARS AS TO COUNTS 1 AND 4 OF THE INDICTMENT TO RUN CONCURRENTLY.




                                                      MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
      probation and at least two periodic drug tests thereafter, as determined by the court.
                The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
 4.       You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.     You must participate in an approved program for domestic violence. (check if applicable)
 7.     You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
 8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,



 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
                   Case 2:18-cr-00118-MLCF-JVM Document 228 Filed 07/14/21 Page 3 of 6
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 4A — Probation
                                                                                                Judgment—Page        3       of         6

DEFENDANT:                  WILLIAM MCGINNESS
CASE NUMBER:                053L 2:18CR00118-001 “F”

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                   Date
                   Case 2:18-cr-00118-MLCF-JVM Document 228 Filed 07/14/21 Page 4 of 6
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 4D — Probation
                                                                                Judgment—Page   4   of      6
DEFENDANT:                WILLIAM MCGINNESS
CASE NUMBER:              053L 2:18CR00118-001 “F”

                                         SPECIAL CONDITIONS OF SUPERVISION

1. In order to facilitate the collection of the fine, the defendant shall provide complete access to financial
information, including disclosure of all business and personal finances, to the United States Probation
Officer.

2. In order to facilitate the collection of the fine, the defendant shall not apply for, solicit or incur any
further debt, included but not limited to loans, lines of credit or credit card charges, either as a principal
or cosigner, as an individual or through any corporate entity, without first obtaining written permission
from the United States Probation Officer.

3. To emphasize the seriousness of the offense, the defendant shall pay any fine that is imposed by this
judgment.

4. To ensure the defendant is legally in possession of wildlife, the defendant shall submit his person,
residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable
time in a reasonable manner, based upon reasonable suspicion that contraband or evidence of a violation
of a condition of supervision may exist; failure to submit to a search may be grounds for revocation; the
defendant shall warn any other resident(s) that the premises may be subject to searches pursuant to this
condition.

5. To monitor compliance with the Lacey Act, the defendant shall make full and complete disclosure of
his business/financial records.
                   Case 2:18-cr-00118-MLCF-JVM Document 228 Filed 07/14/21 Page 5 of 6
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page       5    of         6
 DEFENDANT:                       WILLIAM MCGINNESS
 CASE NUMBER:                     053L 2:18CR00118-001 “F”
                                                CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                     JVTA Assessment*           Fine                         Restitution
 TOTALS           $ 200.00                     $                            $ 7,500.00                 $

     The Court finds that the defendant does not have the ability to pay a fine. Accordingly, no fine has been imposed.

       The determination of restitution is deferred             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
 until after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

 Name of Payee                               Total Loss**                    Restitution Ordered                     Priority or Percentage




 TOTALS                              $                                  $

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            the interest requirement is waived for the         fine           restitution.
            the interest requirement for                fine    restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
    or after September 13, 1994, but before April 23, 1996.
                       Case 2:18-cr-00118-MLCF-JVM Document 228 Filed 07/14/21 Page 6 of 6
AO 245B (Rev. 02/18)    Judgment in a Criminal Case
                        Sheet 6 — Schedule of Payments
                                                                                                              Judgment — Page       6      of           6
 DEFENDANT:                 WILLIAM MCGINNESS
 CASE NUMBER:               053L 2:18CR00118-001 “F”


                                                         SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of $                                due immediately, balance due

                not later than                                      , or
                in accordance with            C          D,          E, or           F below; or

 B         Payment to begin immediately (may be combined with                   C,           D, or        F below); or

 C         Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
           THE SPECIAL ASSESSMENT IS DUE IMMEDIATELY
           The defendant is ordered to pay to the United States a total fine of $7,500.00. The fine shall be paid in monthly installments of
           $150.00. The first installment to be paid within 30 days of sentencing, and later installments to be paid each month until the full
           amount has been paid. The payment is subject to increase or decrease, depending on the defendant’s ability to pay. The court will
           waive the interest requirement in this case.
           Fine payments shall be made payable to the Clerk, United States District Court, and are to be forwarded to the following address:
                                                                U.S. CLERK’S OFFICE
                                                            ATTN: FINANCIAL SECTION
                                                        500 POYDRAS STREET – ROOM C-151
                                                         NEW ORLEANS, LOUISIANA 70130
           The U. S. Probation Office and the U.S. Attorney’s Office are responsible for enforcement of this order.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
      Joint and Several




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:
      Forfeiture of the defendant’s right, title, and interest in certain property is hereby ordered consistent with the Court’s ruling. The United
      States has filed a Motion for Preliminary Order of Forfeiture to effect forfeiture of the defendant’s interest in the assets specified therein,
      which was granted at Rec. Doc. No. 185.
 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
